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                                       UNITED STATES DISTRICT COURT
                                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                                             EASTERN DIVISION


        ABDELRAHMAN F. BADER,                              )
                                                           )
                          Plaintiff,                       )
                                                           )
                                                                     Case No. 1:18-cv-01367
                   vs.                                     )
                                                           )
                                                                     Hon. Sharon Johnson Coleman
        NAVIENT SOLUTIONS, LLC,                            )
                                                           )
                          Defendant.                       )
                                                           )


                                   DEFENDANT NAVIENT SOLUTIONS, LLC’S
                                   NOTICE OF SUPPLEMENTAL AUTHORITY

                   Defendant Navient Solutions, LLC (“NSL”) respectfully submits this notice to bring to the

        Court’s attention a recent decision from the Honorable Manish S. Shah of the U.S. District Court

        for the Northern District of Illinois in Johnson v. Yahoo!, Inc., No. 14 CV 2028, 2018 WL 6426677

        (N.D. Ill. Nov. 29, 2018), as well as a recent decision from the Northern District of Iowa in

        Thompson-Harbach v. USAA Fed. Savings Bank, No. 15-CV-2098-CJW-KEM, 2019 WL 148711

        (N.D. Iowa, Jan. 9, 2019). Both decisions address a number of legal arguments raised by NSL’s

        motion for judgment on the pleadings (Dkt. 25), Plaintiff’s response thereto (Dkt. 28), and NSL’s

        reply in further support of its motion (Dkt. 33). A copy of the Johnson and Thompson-Harbach

        decisions are attached as Exhibit A and Exhibit B, respectively.

                   In Johnson, Judge Shah reconsidered his prior denial of the defendant’s motion for

        summary judgment and entered judgment in defendant’s favor, finding that the text messages to

        plaintiff were not placed using an automatic telephone dialing system (“ATDS”) as that term is

        defined under the Telephone Consumer Protection Act (“TCPA”). Like Mr. Bader in this case,




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        plaintiff in Johnson argued that defendant’s dialing system—which sent text messages to

        customers’ numbers pulled from a database of stored numbers—qualified as an ATDS under the

        TCPA. The Court disagreed, holding that the D.C. Circuit’s decision in ACA International v. FCC,

        885 F.3d 687, 695 (D.C. Cir. 2018), invalidated not only the July 2015 Order of the Federal

        Communications Commission (the “FCC”), but also the FCC’s prior interpretations of the term

        “ATDS” in its 2003, 2008, and 2012 orders. The Johnson Court concluded that “[t]he phrase

        ‘using a random or sequential number generator’ applies to the numbers to be called and an ATDS

        must either store or produce those numbers (and then dial them).” 2018 WL 6426677, at *2. The

        Court further agreed with the decision in Pinkus v. Sirius XM Radio, 319 F. Supp. 3d 927, 935

        (N.D. Ill. 2018), that “[c]urated lists developed without random or sequential number generation

        capacity fall outside the statute’s scope.” Id. The Court expressly rejected the view of the Ninth

        Circuit’s decision in Marks v. Crunch San Diego, LLC, 904 F.3d 1041, 1049 (9th Cir. 2018)—

        cited by Plaintiff here—that a device that dials numbers from a stored list (without random or

        sequential number generation) qualifies as an ATDS. Id.

                   Likewise, the Thompson-Harbach Court held that the predictive dialer at issue did not

        constitute an ATDS. The Court agreed with Pinkus and its progeny that ACA International

        invalidated the FCC’s 2003 and 2008 orders defining that a predictive dialer is per se an “ATDS.”

        Thompson-Harbach, 2019 WL 148711, at *10-11. The Thomspon-Harbach Court rejected the

        analysis of the statute adopted by Marks. Id. at *13. Finally, the Court found that defendant did

        not violate the TCPA by calling plaintiff at the number provided by plaintiff where the defendant’s

        predictive dialer was unable to “randomly or sequentially produce or store a number and then call

        that number.” Id. at *14.




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                   The decisions in Johnson and Thompson-Harbach are instructive and further support the

        grant of a judgment on the pleadings in favor of NSL.




          Dated: January 17, 2019

                                                                Respectfully submitted,
                                                                ATTORNEYS FOR DEFENDANT



                                                                By: /s/ Robert H. Griffith
                                                                       One of Their Attorneys

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                                      CERTIFICATE OF SERVICE

              Robert H. Griffith hereby states that on January 17, 2019, he served a copy of
        DEFENDANT NAVIENT SOLUTIONS, LLC’S NOTICE OF SUPPLEMENTAL
        AUTHORITY, and this Certificate of Service with the Clerk of the Court using the ECF system,
        which will send notification of such filing on:

                                        Taxiarchis Hatzidimitriadis
                                         Sulaiman Law Group, Ltd.
                                    2500 South Highland Ave., Suite 200
                                            Lombard, IL 60148
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